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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                    Middle District
                                 __________ Districtofof
                                                      Alabama
                                                         __________        $0(1'('
                                               )
           UNITED STATES OF AMERICA            ) JUDGMENT IN A CRIMINAL CASE
                      v.                       ) (For Revocation of Probation or Supervised Release)
                                               )                      :2
            KYLE GEOFFREY SANDLER              )
                                               ) Case No. 3:18cr342-WKW-01
                                               ) USM No. 17620-002
                                               )
                                               )
                                                                                            Defendant’s Attorney
THE DEFENDANT:
✔ admitted guilt to violation of condition(s)
G                                                2 and 3                            of the term of supervision.
✔
G was found in violation of condition(s) count(s) 1                            after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                           Violation Ended
1                             The defendant failed to make monthly payments toward                         03/26/2019

                                restitution as ordered by the Court
2                               Defendant knowingly communicated or interacted with a                      05/11/2022
                                convicted felon

       The defendant is sentenced as provided in pages 2 through        4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                           and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 2198                                             10/11/2022
                                                                                       Date of Imposition of Judgment
Defendant’s Year of Birth:          1975
                                                                                           /s/ W. Keith Watkins
City and State of Defendant’s Residence:                                                      Signature of Judge
Montgomery, AL
                                                                          W. KEITH WATKINS, United States District Judge
                                                                                            Name and Title of Judge


                                                                                                10/14/2022
                                                                                                        Date
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                       Sheet 1A

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DEFENDANT: KYLE GEOFFREY SANDLER
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                                                  ADDITIONAL VIOLATIONS

                                                                                                                     Violation
Violation Number               Nature of Violation                                                                   Concluded
3                              Defendant failed to follow the instructions of the probation officer related to       08/10/2022

                               the conditions of supervision
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                       Sheet 2— Imprisonment
                                                                                                  Judgment — Page   3       of   4
DEFENDANT: KYLE GEOFFREY SANDLER
CASE NUMBER: 3:18cr342-WKW-01


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
Twenty Three (23) Months. The TERM of Supervised Release imposed on March 26, 2019 is REVOKED. No
Supervised Release to follow. *An upward variance was given based on: 1) The seriousness of the defendant’s
conduct; 2) The need to protect the public; 3) The need to avoid unwarranted sentence disparities; and 4) The
recommendation of the U.S. Probation Office.

     G The court makes the following recommendations to the Bureau of Prisons:




     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
         G    at                                 G a.m.         G p.m.       on                                         .
         G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G    before 2 p.m. on                                           .
         G    as notified by the United States Marshal.
         G    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
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                        Sheet 6 — Schedule of Payments

                                                                                                       Judgment — Page      4     of     4
 DEFENDANT: KYLE GEOFFREY SANDLER
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                    1,903,000.00                due immediately, balance due

          G not later than                                               , or
          G in accordance with G C,                 G D,         G E, or        G F below); or
B    G Payment to begin immediately (may be combined with                       G C,      G D, or G F below); or
C    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $              over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $              over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
          from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay.
F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
       The balance of the $1,903,000.00 restitution amount, which was ordered as part of Defendant's original sentence
       in the judgment imposed on 03/26/2019 (Doc. # 44), is due immediately. The payment plan under the Schedule of
       Payments section of the judgment (Doc. # 44) no longer applies, as there is no term of supervised release to follow
       the 23-month sentence of imprisonment.


Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Case Number
     Defendant and Co-Defendant Names                                                       Joint and Several            Corresponding Payee,
     (including defendant number)                          Total Amount                          Amount                      if appropriate




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including
cost of prosecution and court costs.
